Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 1 of 30 Page ID #:1463




  1   Mike Arias (CSB #115385)
       mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith*
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 213-0675
 11   Facsimile: (303) 927-0809
 12   *Pro Hac Vice
 13   Attorneys for Plaintiff and the Classes
 14
                               UNITED STATES DISTRICT COURT
 15                           CENTRAL DISTRICT OF CALIFORNIA
 16                                 WESTERN DIVISION

 17   Edwardo Munoz, individually and on
 18   behalf of all others similarly situated,               Case No. 2:18-cv-03893-RGK-AGR

 19                                    Plaintiff,               NOTICE OF PLAINTIFF’S
 20          v.                                                 MOTION FOR AWARD OF
                                                                REASONABLE ATTORNEYS’
 21   7-Eleven, Inc., a Texas corporation,                      FEES, EXPENSES, AND
 22                                       Defendant.            INCENTIVE AWARD

 23                                                             Date: November 4, 2019
 24                                                             Time: 9:00 a.m.
                                                                Judge: Hon. R. Gary Klausner
 25                                                             Courtroom: 850
 26                                                             Complaint Filed: May 9, 2018

 27
 28
          Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees and Expenses, and Incentive Award
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 2 of 30 Page ID #:1464




  1         PLEASE TAKE NOTICE that on Monday, November 4, 2019, at 9:00
  2   a.m., or as soon thereafter as counsel may be heard, counsel for Plaintiff Edwardo
  3   Munoz (“Plaintiff” or “Munoz”) shall appear before the Honorable R. Gary
  4   Klausner or any judge sitting in his stead in Courtroom 850 of the United States
  5   District Court for the Central District of California, Roybal Federal Building and
  6   U.S. Courthouse, 255 East Temple Street, Los Angeles, California 90012 and
  7   present Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and
  8   Incentive Award.
  9         This Motion is based on this Notice and Motion, the Memorandum in
 10   Support of the Motion and the exhibits attached thereto, oral argument of counsel,
 11   and any other matter that may be submitted at the hearing.
 12
 13                                                    Respectfully submitted,
 14
 15   Dated: September 20, 2019                        Edwardo Munoz, individually and on behalf
                                                       of all others similarly situated,
 16
 17                                            By:      /s/ Steven L. Woodrow
                                                       One of Plaintiff’s Attorneys
 18
 19                                                    Mike Arias (CSB #115385)
                                                        mike@asstlawyers.com
 20                                                    Alfredo Torrijos (CSB #222458)
                                                        alfredo@asstlawyers.com
 21                                                    ARIAS SANGUINETTI WANG &
                                                             TORRIJOS, LLP
 22                                                    6701 Center Drive West, 14th Floor
                                                       Los Angeles, California 90045
 23                                                    Telephone: (310) 844-9696
                                                       Facsimile: (310) 861-0168
 24                                                    Steven L. Woodrow*
 25                                                      swoodrow@woodrowpeluso.com
                                                       Patrick H. Peluso*
 26                                                      ppeluso@woodrowpeluso.com
                                                       Taylor T. Smith*
 27                                                      tsmith@woodrowpeluso.com

 28
           Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          -2-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 3 of 30 Page ID #:1465



                                                      WOODROW & PELUSO, LLC
  1                                                   3900 East Mexico Avenue, Suite 300
                                                      Denver, Colorado 80210
  2                                                   Telephone: (720) 213-0675
                                                      Facsimile: (303) 927-0809
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
          Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                         -3-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 4 of 30 Page ID #:1466




  1                                           TABLE OF CONTENTS
  2   TABLE OF AUTHORITIES ................................................................................ iii
  3   I.      Introduction ...................................................................................................1
  4   II.     Legal, Factual, And Procedural Background .............................................2
  5           A.       The FCRA ............................................................................................2
  6           B.       Plaintiff’s Claims And The Litigation Process .................................3
  7           C.       The Mediation Process And Settlement History ..............................5
  8           D.       Key Settlement Terms ........................................................................6
  9                    1.       Class Definition .........................................................................6
 10                    2.       Monetary Relief ........................................................................7
 11                    3.       Prospective Relief......................................................................7
 12                    4.       Release Of Liability ..................................................................8
 13   III.    Argument .......................................................................................................8
 14           A.       Class Counsel’s Request For Attorneys’ Fees Of 25% Of The
 15                    Settlement Fund Is Reasonable And Consistent With Awards In
 16                    Common Fund Cases In This Circuit. ............................................10
 17                    1.       The Settlement Is An Exceptional Result For The Class ....10
 18                    2.       Class Counsel Faced Meaningful Risk In Taking
 19                             The Case. .................................................................................12
 20                    3.       The Settlement Also Provides Prospective Relief. ...............13
 21                    4.       The Requested Award Equals the Ninth Circuit
 22                             Benchmark. .............................................................................13
 23                    5.       Class Counsel Invested Substantial Time, Advanced Costs,
 24                             And Had To Forego Accepting Other Matters During The
 25                             Pendency Of This Action........................................................14
 26                    6.       Class Counsel took this case on a Contingent Basis. ...........15
 27
 28
             Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                                -i-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 5 of 30 Page ID #:1467




  1          B.       The Requested Fee Award Is Also Reasonable When Applying The
  2                   Lodestar Method. ..............................................................................16
  3          C.       The Court Should Also Award Class Counsel’s Reasonable
  4                   Expenses of $20,961.15......................................................................19
  5          D.       The Court Should Likewise Approve The Requested Incentive
  6                   Award For Plaintiff Munoz’s Efforts. .............................................19
  7   IV.    Conclusion ....................................................................................................20
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                              - ii -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 6 of 30 Page ID #:1468




  1                                      TABLE OF AUTHORITIES
  2   Aboudi v. T-Modile USA, Inc., No. 12cv2169 BTM (NLS), 2015 WL 4923602,
  3                   (S.D. Cal. Aug. 18, 2015) .....................................................................9
  4   Aceves v. Autozone Inc., No. 5:14-cv-2032 (C.D. Cal. Nov. 18, 2016) ..................11
  5   Boeing Co. v. Van Gemert, 444 U.S. 472 (1980) ......................................................8
  6   Bright v. Garberg, Case No. CV10-7933-RGK (JCx), 2014 WL 11497797 (C.D.
  7                   Cal. Feb. 24, 2014) ..............................................................................10
  8   Chambers v. Whirlpool Corp., 214 F.Supp.3d. 877 (C.D. Cal. Oct. 11, 2016).......20
  9   Cohorst v. BRE Props., Inc., Case No. 3:10-CV-2666-JM-BGS, 2011 WL 7061923
 10                   (S.D. Cal. Nov. 14, 2011) ...................................................................12
 11   Estes v. L3 Technologies, Inc., Case No.: 3:17-cv-02356-H-LL, 2019 WL 141564
 12                   (S.D. Cal. Jan. 9, 2019) .......................................................................11
 13   Feist v. Petco Animal Supplies, Inc., Case No.: 3:16-cv-01369-H-MSB, 2018 WL
 14                   6040801 (S.D. Cal. Nov. 16, 2018) ..............................................11, 13
 15   Fernandez v. Victoria Secret Stores, LLC, No. CV 06-04149 MMM (SHx), 2008
 16                   WL 8150856 (C.D. Cal. July 21, 2008) ................................................9
 17   Fischel v. Equitable Life Assur. Soc’y of U.S., 307 F.3d 997 (9th Cir. 2002) .........18
 18   Flores v. Express Services, Inc., CIVIL ACTION NO. 14-3298, 2017 WL 1177098
 19                   (E.D. Pa. Mar. 30, 2017) .....................................................................13
 20   Florida v. Dunne, 915 F.2d 542 (9th Cir. 1990) .......................................................9
 21   Ford v. CEC Entertainment Inc., 2015 WL 11439033
 22                   (S.D. Cal. Dec. 14, 2015) ....................................................................13
 23   Georgino v. Sur la Table, Inc., CASE NO. CV 11-03522 MMM (JEMx), 2013 WL
 24                   12122430 (C.D. Cal. May 9, 2013).....................................................15
 25   Gilberg v. California Check Cashing Stores, LLC,
 26                   913 F.3d 1169 (9th Cir. 2019)...............................................................3
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                            - iii -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 7 of 30 Page ID #:1469




  1   Good Morning to You Prod. Corp. v. Warner/Chappell Music, Inc.,
  2                   Case No. CV 13-4460-GHK (MRWx), 2016 WL 6156076 (C.D. Cal.
  3                   Aug. 16, 2016) ....................................................................................16
  4   Hollis v. Union Pacific Railroad Co., Case No. EDCV 17-2449 JGB (SHKx), 2018
  5                   WL 6267342 (C.D. Cal. Sept. 19, 2018).............................................13
  6   In re Activision Sec. Litig., 723 F. Supp. 1373 (N.D. Cal. 1989) ..............................8
  7   In re Bluetooth Headset Products Liab. Litig.,
  8                   654 F.3d 935 (9th Cir. 2011)...............................................8, 10, 13, 18
  9   In re Heritage Bond Litig., No. 02–ML–1475 DT, et al., 2005 WL 1594403 (C.D.
 10                   Cal. June 10, 2005) .............................................................................11
 11   In re Mego Financial Corp. Sec. Litig., 213 F.3d 454 (9th Cir. 2000) ...................20
 12   In re Online DVD-Rental Antitrust Litig., 779 F.3d 934 (9th Cir. 2015) ................10
 13   In re Toys R Us-Delaware, Inc.—Fair and Accurate Credit Transaction Act
 14                   (FACTA) Litig., 295 F.R.D. 438 (C.D. Cal. 2014) ..............9, 16, 19, 20
 15   In re Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291 (9th Cir. 1994) ......15
 16   Johnson v. Metro-Goldwyn-Mayer Studios Inc., Case No. C17-541RSM 2018 WL
 17                   5013764 (W.D. Wash. Oct. 16, 2018) ..................................................8
 18   Jones v. San Diego Metro. Transit System, Case No. 3:14-cv-01778-KSC, 2017 WL
 19                   5992360 (S.D. Cal. Nov. 30, 2017) ......................................................8
 20   Kirchner v. Shred-It USA Inc., Civ. No. 2:14–1437 WBS EFB, 2015 WL 1499115
 21                   (E.D. Cal. Mar. 31, 2015) ...................................................................11
 22   Lavalle v. Chex Systems, Inc., 8:08–cv–01383 (C.D. Cal. 2011) ............................11
 23   Moore v. Aerotek, Inc., Case No. 2:15-cv-2701, Case No. 2:16-cv-1066, 2017 WL
 24                   2838148 (S.D. Ohio June 30, 2017)....................................................11
 25   Parkinson v. Hyundai Motor America, 796 F.Supp.2d 1160 (C.D. Cal. 2010) ......17
 26   Rodriguez v. West Publishing Corp., 563 F.3d 948 (9th Cir. 2009)........................19
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                            - iv -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 8 of 30 Page ID #:1470




  1   Santos v. Jasco Oil Company, Case No.: 1:14-cv-0738 -JLT, 2015 WL 5732829
  2                     (E.D. Cal. Sept. 29, 2015) ...................................................................13
  3   Schofield v. Delta Air Lines, Inc., 3:18-cv-00382-EMC
  4                     (N.D. Cal. July 16, 2019) ....................................................................13
  5   Syed v. M-I, LLC, 2016 WL 310135 (E.D. Cal. Jan. 26, 2016) ...............................13
  6   Vizcaino v. Microsoft Corp., 142 F.Supp.2d 1299 (W.D. Wash. 2001) ..............9, 16
  7   Weeks v. Kellogg Co., No. CV 09–08102, 2013 WL 6531177 (C.D. Cal. Nov. 23,
  8                     2013) ...................................................................................................20
  9   (6) Mexican Workers v. Arizona Citrus Growers,
 10                     904 F.2d 1301 (9th Cir. 1990).............................................................10
 11
 12   STATUTES, RULES, SECONDARY SOURCES
 13   Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. ............................................1, 3
 14   Fed. R. Civ. P. 23.....................................................................................................19
 15   Manual for Complex Litigation 4th Ed. 14.121 (2004) .............................................9
 16   Alba Conte & Herbert B. Newberg, Newberg on Class Actions, (3d Ed. 1992) .....17
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
             Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                                 -v-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 9 of 30 Page ID #:1471




  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    Introduction
  3         The settlement reached in this lawsuit—which, if finally approved, would
  4   resolve all claims brought by Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”)
  5   under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA” or the
  6   “Act”) on behalf of himself and the Settlement Class—represents a terrific outcome
  7   for the class. The Settlement provides cash payments to class members and requires
  8   substantive changes to Defendant 7-Eleven, Inc.’s (“Defendant” or “7-Eleven”)
  9   hiring practices. Indeed, 7-Eleven has agreed to establish a settlement fund in the
 10   amount of one million nine hundred seventy-two thousand five hundred dollars
 11   ($1,972,500) that will be used to pay all valid claims. Each claim will be of equal
 12   value and will be calculated by subtracting from the Settlement Fund all amounts
 13   for notice and administration, any incentive award to the Class Representative, and
 14   an award of reasonable attorneys’ fees and costs, and then dividing by the total
 15   number of valid claims (up to a cap of $550 per claim). 7-Eleven has also agreed to
 16   utilize a FCRA compliant consumer report disclosure going forward.
 17         These results didn’t materialize by sheer coincidence. Rather, the Settlement
 18   is a product of Class Counsel’s vigorous prosecution of this action on behalf of
 19   Munoz and the other class members. Class Counsel invested considerable time,
 20   resources, and effort working toward the prosecution and eventual resolution of this
 21   action. In that time, Class Counsel has: (i) defeated a bid to dismiss the case, (ii)
 22   attained certification of two classes of individuals subjected to 7-Eleven’s allegedly
 23   problematic disclosure, (iii) engaged in extensive discovery, both written and oral,
 24   (iv) briefed cross-motions for summary judgment, and (v) spent considerable time
 25   preparing for trial. Eventually, following a full-day mediation session in Toronto,
 26   Canada (followed by more than a month of continued settlement talks) and in the
 27
 28
           Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          -1-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 10 of 30 Page ID #:1472




   1   midst of preparing for trial, the parties reached the instant Settlement.
   2          The Settlement provides for an attorneys’ fee award to Class Counsel of up to
   3   one-third of the Settlement Fund. Having reviewed the pertinent considerations,
   4   however, Class Counsel is only seeking $493,125 (or 25% of the Fund) in fees plus
   5   $20,961.15 in reimbursable expenses here. This amount is demonstrably reasonably
   6   when considering the results achieved and the prevailing benchmark for common
   7   fund settlements in this circuit. Further, the requested fees and expenses are also
   8   reasonable when examined using the lodestar method as a crosscheck (which would
   9   only require a 1.12 multiplier). Put simply, Class Counsel devoted substantial time
 10    and effort to initiate, prosecute, and successfully resolve this case.
 11           Additionally, and in recognition of Plaintiff Munoz’s dedication and
 12    contribution to the case as the representative plaintiff, the Settlement provides for
 13    an incentive payment in the amount of $5,000—which is reasonable and in line
 14    with customary practices in this circuit. Throughout the litigation, Munoz
 15    communicated regularly with Class Counsel, supplied evidence and testimony, and
 16    kept up-to-date on the status of this action.
 17           As such, and as discussed further below, this Court should find that the
 18    requested attorneys’ fees, expenses, and incentive award are reasonable and enter an
 19    Order awarding such amounts.
 20    II.    Legal, Factual, And Procedural Background
 21           A.       The FCRA
 22           The FCRA requires, prior to any consumer report being obtained about an
 23    applicant or employee, that the employer provide a disclosure and authorization
 24    informing the applicant or employee that such a report may be procured for
 25    employment purposes. The disclosure and authorization must be “clear and
 26    conspicuous” and be presented “in a document that consists solely of the
 27
 28
             Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                            -2-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 11 of 30 Page ID #:1473




   1   disclosure.” See § 1681b(b)(2)(A)(i). The Ninth Circuit has made clear that the
   2   inclusion of extraneous information in the disclosure, beyond those expressly
   3   authorized, violates the FCRA. Gilberg v. California Check Cashing Stores, LLC,
   4   913 F.3d 1169, 1175 (9th Cir. 2019) (“[T]he statute meant what it said: the required
   5   disclosure must be in a document that ‘consist[s] ‘solely’ of the disclosure.’”).
   6         Applied here, Plaintiff believes that he would ultimately have been able to
   7   show that 7-Eleven’s Disclosure willfully violated the FCRA’s stand-alone
   8   disclosure requirement. 7-Eleven’s form combines the disclosures regarding
   9   consumer reports with the disclosures required for investigative consumer reports.
 10    Further, the form contains additional information, including statements about state
 11    statutory provisions, Sterling Talent Solutions, and a blanket authorization allowing
 12    the disclosure of information directly to 7-Eleven. Furthermore, 7-Eleven had
 13    regular access to legal counsel and the resources to comply with FCRA.
 14          For its part, 7-Eleven pleaded a litany of affirmative defenses, including its
 15    argument that its disclosure didn’t violate the FCRA, that any violation was not
 16    committed willfully, and that any class should be decertified in light of a supposed
 17    need for individual inquiries into each class member’s understanding of the form.
 18          B.       Plaintiff’s Claims And The Litigation Process
 19          In February 2018, Plaintiff Munoz was terminated by 7-Eleven based on the
 20    contents of his consumer report. (See Declaration of Steven L. Woodrow
 21    (“Woodrow Decl.”), attached hereto as Exhibit A, ¶ 3.) Plaintiff then contacted
 22    Class Counsel to discuss his legal rights and remedies. (Id.) Prior to initiating this
 23    action, Class Counsel undertook an investigation into Plaintiff Munoz’s
 24    employment with 7-Eleven and 7-Eleven’s hiring practices. (Id. ¶¶ 4-8.) Class
 25    Counsel began by interviewing Munoz regarding his employment and subsequent
 26    termination. (Id. ¶ 5.) On March 9, 2018, Class Counsel sent a letter to 7-Eleven
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                           -3-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 12 of 30 Page ID #:1474




   1   seeking Plaintiff’s complete employment file. (Id. ¶ 6.) On March 30, 2018, 7-
   2   Eleven responded and produced part of Munoz’s employment file, which included,
   3   among other documents, 7-Eleven’s Disclosure Regarding Background
   4   Investigation. (Id. ¶ 7.) Following a thorough review of Munoz’s employment file
   5   and a review of publicly available information, Class Counsel determined that a
   6   good faith basis existed to pursue the case as an alleged class action. (Id. ¶¶ 8, 9.)
   7            On May 9, 2018, Plaintiff filed his class action complaint in the United States
   8   District Court for the Central District of California.1 (Dkt. 1.) Specifically, the
   9   Complaint alleged that 7-Eleven violated the FCRA by procuring consumer reports
 10    about its job applicants and employees without first providing a standalone
 11    disclosure and an opportunity to authorize the release of the information.
 12             7-Eleven moved to dismiss. (See Dkt. 24.) On September 5, 2018, following
 13    full briefing and oral argument, the Court issued its Order denying Defendant’s
 14    motion to dismiss. (See Dkt. 37.) The Parties then worked to fully brief Plaintiff’s
 15    Motion for Class Certification. (Dkts. 33, 38, 40.) On October 18, 2018, the Court
 16    issued its Order certifying Plaintiff’s proposed classes. (See Dkt. 43.)
 17             Plaintiff next worked to develop a notice plan, which the Court approved on
 18    February 12, 2019. (Dkt. 50.) Class Counsel then worked to effectuate the Notice
 19    Plan. (Woodrow Decl. ¶ 15.) This included working with Kurtzman Carson
 20    Consultants, LLC (“KCC”) to finalize the notices and ensure that they were sent to
 21    the class. (Id.) Shortly after the notice was disseminated, Class Counsel began to
 22    field daily calls from class members seeking additional information about the case.
 23    (Id.) This process required Class Counsel to devote considerable time to assisting
 24    class members with various questions/concerns. (Id.)
 25             The Parties were also engaged in extensive written and oral discovery.
 26
       1
 27        The Complaint was subsequently amended on July 9, 2018. (See Dkt. 23.)
 28
               Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                              -4-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 13 of 30 Page ID #:1475




   1   (Woodrow Decl. ¶ 16.) Class Counsel deposed 7-Eleven’s corporate representative
   2   in Dallas Texas on January 30, 2019, and counsel for 7-Eleven deposed Plaintiff
   3   Munoz on February 20, 2019, at their office in Newport Beach, California. (Id.)
   4   Plaintiff also conducted third party discovery through a subpoena on Sterling Talent
   5   Solutions. (Id.) Counsel for both Parties regularly met and conferred regarding
   6   discovery disputes and, when necessary, raised the disputes with the Court in
   7   accordance with Magistrate Judge Rosenberg’s discovery procedures. (Id.)
   8          C.      The Mediation Process And Settlement History
   9          The Parties began discussing the possibility of scheduling a private mediation
 10    session in 2018. (Woodrow Decl. ¶ 18.) Despite an initial willingness to mediate, 7-
 11    Eleven’s counsel indicated that no mediation could occur too early in the case. (Id.)
 12    Ultimately, following significant discovery the Parties agreed to attend a full-day
 13    mediation session with Michael E. Dickstein—a well-respected mediator with
 14    substantial class action experience. (Id. ¶¶ 19, 20.)
 15           On April 9, 2019, counsel met for a full-day mediation session in Toronto,
 16    Canada. The mediation was hard-fought with both parties expressing confidence in
 17    their respective positions. (Woodrow Decl. ¶ 21.) Despite extensive back and forth
 18    discussions, the Parties were unable to reach an agreement with Mr. Dickstein that
 19    day. (Id.) Instead, the Parties agreed to proceed with briefing and arguing their
 20    cross-motions for summary judgment and preparing for trial. (Id.) At the same time,
 21    the Parties continued discussions in an effort to keep the potential for settlement
 22    alive. (Id. ¶ 22.)
 23           In the midst of trial preparation—which included the compiling of exhibit
 24    and witness lists, the drafting of memoranda of contentions of law and fact and jury
 25    instructions, and holding a Rule 16-2 meeting of counsel—and with the continued
 26    assistance and oversight of the mediator, the Parties reached an agreement in
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                           -5-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 14 of 30 Page ID #:1476




   1   principal to resolve the claims at issue. (Woodrow Decl. ¶ 24.) Only after an
   2   agreement was reached in principal with respect to the class members did the
   3   Parties negotiate an incentive award for the Class Representative and an award of
   4   reasonable attorneys’ fees for Class Counsel. (Id.)
   5          Counsel for the Parties thereafter worked to memorialize the terms of the
   6   Settlement. (Woodrow Decl. ¶ 25.) On June 17, 2019, Plaintiff filed his Motion for
   7   Preliminary Approval of Class Action Settlement. (Dkt. 85.) On July 18, 2019, the
   8   Court continued the hearing on Plaintiff’s motion and required the parties to file an
   9   addendum that clarified the language of the release, limiting it to claims that were
 10    alleged in the pleadings. (Dkt. 89) On July 30, 2019, following the filing of the
 11    amended agreement, the Court granted preliminary approval. (Dkt. 91.)
 12           Since then, Class Counsel has worked to finalize the notice documents,
 13    including the claim form, the long form notice, the short form (postcard) notice, the
 14    email notice, the Settlement Website, and the interactive voice recording (IVR)
 15    messaging. (Woodrow Decl. ¶ 28.) Class Counsel also worked to ensure that KCC
 16    properly and timely provided notice to the class members. (Id. ¶ 29.) Class Counsel
 17    has received over 100 inquiries from class members regarding their rights and they
 18    continue to field calls from class members who require assistance with the claims
 19    process. (Id. ¶ 30.) Further, Class Counsel continue to monitor the claims process to
 20    ensure that it runs efficiently. (Id.)
 21           D.      Key Settlement Terms
 22           The precise terms of the Settlement are set forth in the attached Settlement
 23    Agreement. (See Settlement Agrmt., Dkt. 90, Ex. A.) Below is a brief summary of
 24    the essential terms.
 25                   1.      Class Definition
 26           The “Class” is defined as all persons who fall into the definition of either
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                           -6-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 15 of 30 Page ID #:1477




   1   class certified by the Court in its Order granting Class Certification (dkt. 43). The
   2   classes are defined as follows:
   3         Disclosure Class: All persons in the United States who (1) from a
   4         date [two years] prior to the filing of this initial complaint in this
   5         action to the date notice is sent to the Disclosure Class; (2) applied for
   6         employment with Defendant; (3) about whom Defendant procured a
   7         consumer repot; and (4) who were provided the same for FCRA
   8         disclosure and authorization as the disclosure and authorization form
   9         that Defendant provided to Plaintiff.
 10          California Subclass: All members of the Disclosure Class who reside
 11          in California.
 12    (Settlement Agrmt. § 1.7.)
 13                   2.      Monetary Relief
 14          7-Eleven has agreed to establish a Settlement Fund of $1,975,000
 15    (“Settlement Fund”). (Settlement Agrmt. § 1.43.) The Settlement Fund will be used
 16    to pay all approved claims, Settlement Administration Expenses, any Incentive
 17    Award, and any Fee Award. After the subtraction of the Settlement Administration
 18    Expenses, any Incentive Award, and any Fee Award from the Settlement Fund, the
 19    remaining amount—the Net Settlement Fund—will be divided by the total number
 20    of approved claims. Each class member who submits an approved claim shall be
 21    entitled to receive one (1) Claimant Payment. Claimant Payments will be of equal
 22    value and will be calculated by dividing the Net Settlement Fund by the total
 23    number of approved claims. Such payments are subject to a cap of $550 each.
 24                   3.      Prospective Relief
 25          7-Eleven has also agreed, for a period of at least eighteen (18) months from
 26    the Effective Date, to use an updated stand-alone disclosure form that does not
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                           -7-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 16 of 30 Page ID #:1478




   1   contain any extraneous information. (Settlement Agrmt. § 2.2.)
   2                    4.      Release Of Liability
   3           As set forth in the Addendum filed on July 29, 2019, in exchange for the
   4   relief described above, 7-Eleven will receive a release of any claims relating to the
   5   factual allegations that gave rise to this case that belong to Plaintiff Munoz and any
   6   class member who does not opt-out. (Settlement Agrmt. § 3.)
   7           As explained below, these results and the work that went into achieving them
   8   support Class Counsel’s requested award for reasonable fees and expenses.
   9   III.    Argument
 10            The Supreme Court has consistently recognized “that a litigant or a lawyer
 11    who recovers a common fund for the benefit of persons other than himself or his
 12    client is entitled to a reasonable attorney's fee from the fund as a whole.” Boeing
 13    Co. v. Van Gemert, 444 U.S. 472, 478 (1980). “Where a settlement produces a
 14    common fund for the benefit of the entire class, courts have discretion to employ
 15    either the lodestar method or the percentage-of-recovery method.” In re Bluetooth
 16    Headset Products Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011) (citing In re
 17    Mercury Interactive Corp., 618 F.3d 988 (9th Cir. 2010)).
 18            While courts have discretion to employ either method, “[t]he percentage
 19    method is better suited for settlements where a common fund is created and easily
 20    quantified.” Johnson v. Metro-Goldwyn-Mayer Studios Inc., Case No. C17-
 21    541RSM, 2018 WL 5013764, at *6 (W.D. Wash. Oct. 16, 2018); see also Jones v.
 22    San Diego Metro. Transit System, Case No. 3:14-cv-01778-KSC, 2017 WL
 23    5992360, at * 4 (S.D. Cal. Nov. 30, 2017); see also In re Activision Sec. Litig., 723
 24    F. Supp. 1373, 1378-79 (N.D. Cal. 1989) (holding that the percentage-of-recovery
 25    method is preferable to the lodestar method because it encourages efficient
 26    resolution by providing an incentive for early, yet reasonable settlement); see also
 27
 28
              Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                             -8-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 17 of 30 Page ID #:1479




   1   Florida v. Dunne, 915 F.2d 542, 545 (9th Cir. 1990) (citing a “groundswell of
   2   support for mandating a percentage-of-the-fund approach in common fund cases”);
   3   see also Manual for Complex Litigation 4th Ed. 14.121 (2004) (“[I]n practice, the
   4   lodestar method is difficult to apply, time-consuming to administer, inconsistent in
   5   result, . . . capable of manipulation . . . [and] creates inherent incentive to prolong
   6   the litigation.”).
   7          Despite a clear preference for the percentage-of-recovery method, the
   8   lodestar method is still used as “a cross-check to assess the reasonableness of the
   9   percentage award.” Fernandez v. Victoria Secret Stores, LLC, No. CV 06-04149
 10    MMM (SHx), 2008 WL 8150856, at *9 (C.D. Cal. July 21, 2008) (citing Vizcaino
 11    v. Microsoft Corp., 290 F.3d 1043, 1050 (9th Cir. 2002)). “The lodestar figure is
 12    ‘the number of hours reasonably expended on the litigation multiplied by a
 13    reasonable hourly rate.’” In re Toys R Us-Delaware, Inc.—Fair and Accurate
 14    Credit Transaction Act (FACTA) Litig., 295 F.R.D. 438, 460 (C.D. Cal. 2014).
 15    Further, “[t]o restrict Class Counsel to the hourly rates they customarily charge for
 16    non-contingent work—where payment is assured—would deprive them of any
 17    financial incentive to accept contingent-fee cases which may produce nothing.”
 18    Vizcaino v. Microsoft Corp., 142 F.Supp.2d 1299, 1306 (W.D. Wash. 2001). As
 19    such, courts routinely find that “[m]ultipliers of 1 to 4 are . . . appropriate in
 20    common fund cases.” Aboudi v. T-Modile USA, Inc., No. 12cv2169 BTM (NLS),
 21    2015 WL 4923602, at *7 (S.D. Cal. Aug. 18, 2015).
 22           As explained below, the requested attorneys’ fees should be granted under
 23    either the percentage or lodestar method. Class Counsel spent considerable time and
 24    effort litigating this case and ultimately achieved an outstanding result for the class
 25    members while preparing for trial. As such, the Court should find that the requested
 26    fees and expenses are reasonable.
 27
 28
             Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                            -9-
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 18 of 30 Page ID #:1480




   1         A.       Class Counsel’s Request For Attorneys’ Fees Of 25% Of The
   2                  Settlement Fund Is Reasonable And Consistent With Awards In
   3                  Common Fund Cases In This Circuit.
   4         The Ninth Circuit has determined the benchmark for an award of reasonable
   5   attorneys’ fees to be 25 percent of the settlement fund. See In re Bluetooth, 654
   6   F.3d at 942; see also Bright v. Garberg, Case No. CV10-7933-RGK (JCx), 2014
   7   WL 11497797, at *2 (C.D. Cal. Feb. 24, 2014) (“The Ninth Circuit has accepted a
   8   “benchmark” fee award of twenty-five percent of the entire settlement fund.”). The
   9   benchmark percentage should be adjusted upward or downward “when special
 10    circumstances indicate that the percentage recovery would be either too small or too
 11    large in light of the hours devoted to the case or other relevant facts.” See (6)
 12    Mexican Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990).
 13          When evaluating the reasonableness of a fee request under the percentage
 14    method, courts consider several non-exhaustive factors, including: (1) the extent to
 15    which class counsel achieved exceptional results for the class, (2) whether the case
 16    was risky for class counsel, (3) whether counsel’s performance generated benefits
 17    beyond the cash settlement fund, (4) the market rate for the particular field of law,
 18    (5) the burdens class counsel experienced while litigating the case, and (6) whether
 19    the case was handled on a contingency basis. In re Online DVD-Rental Antitrust
 20    Litig., 779 F.3d 934, 954-55 (9th Cir. 2015) (citing Vizcaino, 290 F.3d at 1047-50).
 21          As explained below, each of the factors supports the requested fees here.
 22                   1.      The Settlement Is An Exceptional Result For The Class.
 23          The first factor focuses on the benefits obtained. In this case, class members
 24    get the benefit of substantial monetary relief, which compares favorably to similar
 25    FCRA settlements, in addition to prospective relief that cures the problem that
 26    sparked the litigation in the first place. This factor supports the requested fee award.
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 10 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 19 of 30 Page ID #:1481




   1         As a result of Class Counsel’s efforts, 7-Eleven has agreed to establish a
   2   $1,972,500 Settlement Fund. This is a substantial sum, which, after costs, fees, and
   3   the incentive award are deducted, will be paid to the class members. To date,
   4   approximately 2.33% of the Class has filed claims, which will likely result in
   5   payments per class member equal to $550. (Woodrow Decl. ¶ 34.) This amount
   6   frankly dwarfs individual payments in FCRA similar settlements. See Aceves v.
   7   Autozone Inc., No. 5:14-cv-2032, Dkt. 58 (C.D. Cal. Nov. 18, 2016) ($20 - $40 per
   8   class member); see also Lavalle v. Chex Systems, Inc., 8:08–cv–01383 (C.D. Cal.
   9   2011) ($82 per person); see also Kirchner v. Shred-It USA Inc., Civ. No. 2:14–1437
 10    WBS EFB, 2015 WL 1499115, at *11 (E.D. Cal. Mar. 31, 2015) ($45.55 per class
 11    member); see also Feist v. Petco Animal Supplies, Inc., Case No.: 3:16-cv-01369-
 12    H-MSB, 2018 WL 6040801, at *5 (S.D. Cal. Nov. 16, 2018) ($20 per disclosure
 13    class member); see also Estes v. L3 Technologies, Inc., Case No.: 3:17-cv-02356-H-
 14    LL, 2019 WL 141564, at *6 (S.D. Cal. Jan. 9, 2019) ($75 per class member); see
 15    also Moore v. Aerotek, Inc., Case No. 2:15-cv-2701, Case No. 2:16-cv-1066, 2017
 16    WL 2838148, at *4 (S.D. Ohio June 30, 2017) ($13 - $80 per class member).
 17          The benefits obtained for the class were the direct result of Class Counsel’s
 18    work. Indeed, the successful prosecution of complex class actions “requires unique
 19    legal skills and abilities.” See In re Heritage Bond Litig., No. 02–ML–1475 DT, et
 20    al., 2005 WL 1594403, at *19 (C.D. Cal. June 10, 2005) (citation omitted). As
 21    detailed above, Class Counsel have spent considerable time and resources litigating
 22    the claims from February 2018 through the present. Specifically, counsel engaged
 23    in extensive motion practice, obtained extensive information throughout the
 24    discovery process, and spent substantial time preparing for trial. Class Counsel also
 25    engaged in protracted settlement negotiations, which included a full day mediation
 26    session and over month of continued settlement discussions.
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 11 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 20 of 30 Page ID #:1482




   1         Thus, the Settlement results in substantial recovery for the class members and
   2   was the direct result of Class Counsel’s skill and effort.
   3                  2.      Class Counsel Faced Meaningful Risk In Taking The Case.
   4         This case involves complicated factual and legal issues. While Class Counsel
   5   are confident in the strength of the case, they are likewise mindful of the substantial
   6   risk associated with proceeding. Class Counsel have vigorously litigated this matter
   7   on an entirely contingent basis—to date they have received no compensation for
   8   their work at all. (Woodrow Decl. ¶ 38.) For more than a year, Class Counsel
   9   invested substantial time and resources in prosecuting this matter with the ever-
 10    present risk of receiving nothing. (Id.) Class Counsel defeated a bid to dismiss the
 11    case, obtained class certification, engaged in a multitude of discovery disputes, and
 12    briefed cross-motions for summary judgment (which could have been decided in 7-
 13    Eleven’s favor). This is especially so given that the Class faced seasoned defense
 14    counsel who were experienced in class litigation and prepared to mount a series of
 15    defenses at trial and on appeal. See Cohorst v. BRE Props., Inc., Case No. 3:10-CV-
 16    2666-JM-BGS, 2011 WL 7061923, at *20 (S.D. Cal. Nov. 14, 2011) (explaining
 17    that the quality and expertise of opposing counsel is an important consideration).
 18    Ultimately, after balancing the strength of the Settlement against the risks of
 19    proceeding, counsel determined that settlement was in the best interest of the class.
 20    (Woodrow Decl. ¶ 47.)
 21          Moreover, the trial itself would present serious risks. For its part, 7-Eleven
 22    was prepared to mount a vigorous defense as to every issue at trial. A significant
 23    portion of the trial was likely to revolve around the issue of willfulness, meaning it
 24    wouldn’t be sufficient to show that 7-Eleven “merely” broke the law. And even if
 25    Plaintiff were to prevail at trial, 7-Eleven would have likely appealed.
 26          Accordingly, the risks Class Counsel faced support the Fee Award as well.
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 12 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 21 of 30 Page ID #:1483




   1                  3.      The Settlement Also Provides Prospective Relief.
   2         7-Eleven has also agreed to make significant changes to its FCRA disclosure
   3   going forward. (Settlement Agrmt. § 2.2.) This resolves the very issue that gave rise
   4   to the litigation and will benefit class members that are still employed by 7-Eleven
   5   as well as future applicants. This relief goes beyond the damages available under
   6   the FCRA (and was obtained as a result of Class Counsel’s decision to pursue a
   7   UCL claim) and supports the requested fee award.
   8                  4.      The Requested Award Equals the Ninth Circuit Benchmark.
   9         Class Counsel’s requested award of 25% is in line with the market rate for
 10    both class actions generally in this circuit and for FCRA class actions specifically.
 11    Again, the Ninth Circuit has set a benchmark of 25% for an award of reasonable
 12    attorneys’ fees. See In re Bluetooth, 654 F.3d at 942; see also Hollis v. Union
 13    Pacific Railroad Co., Case No. EDCV 17-2449 JGB (SHKx), 2018 WL 6267342, at
 14    *7 (C.D. Cal. Sept. 19, 2018) (“an award of twenty-five percent of the gross
 15    settlement amount is the “benchmark” for attorneys’ fees calculations.”). Thus, the
 16    requested award is entirely consistent with the benchmark.
 17          Moreover, courts repeatedly approve fee awards of 25% or higher in similar
 18    FCRA settlements. See Feist, 2018 WL 6040801, at *7 (S.D. Cal. Nov. 16, 2018)
 19    (awarding 25% of a FCRA settlement); see also Syed v. M-I, LLC, 2016 WL
 20    310135, at *9 (E.D. Cal. Jan. 26, 2016) (awarding 25% of a $1.6 million fund); see
 21    also Schofield v. Delta Air Lines, Inc., 3:18-cv-00382-EMC, Dkt. 51 (N.D. Cal. July
 22    16, 2019) (awarding 25% of $2.3 million fund); see also Flores v. Express Services,
 23    Inc., CIVIL ACTION NO. 14-3298, 2017 WL 1177098, at *4 (E.D. Pa. Mar. 30,
 24    2017) (awarding 33% of a $5.75 million FCRA settlement); see also Ford v. CEC
 25    Entertainment Inc., 2015 WL 11439033, at *7 (S.D. Cal. Dec. 14, 2015) (awarding
 26    33% of a settlement fund); see also Santos v. Jasco Oil Company, Case No.: 1:14-
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 13 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 22 of 30 Page ID #:1484




   1   cv-0738 -JLT, 2015 WL 5732829, at *20 (E.D. Cal. Sept. 29, 2015) (awarding 33%
   2   of a FCRA settlement).
   3         In this case, although the Settlement permits Class Counsel to seek an award
   4   of up to one-third of the Settlement Fund, Class Counsel has decided to only seek
   5   25% given the prevailing benchmark in the Ninth Circuit and comparable FCRA
   6   settlements. The Court should therefore find the 25% requested to be reasonable.
   7                  5.      Class Counsel Invested Substantial Time, Advanced Costs,
   8                          And Had To Forego Accepting Other Matters During The
   9                          Pendency Of This Action.
 10          The fifth factor inquires into the burden upon Class Counsel while litigating
 11    the case—including cost, duration, and foregoing other work.
 12          This case required a significant commitment by Class Counsel. To date,
 13    Class Counsel have devoted substantial time and resources toward this litigation
 14    without remuneration of any kind. (Woodrow Decl. ¶¶ 36-38.) Class Counsel
 15    briefed and defeated a motion to dismiss, obtained class certification of the classes,
 16    created and successfully implemented two notice plans, briefed cross-motions for
 17    summary judgment, prepared for trial, and communicated with class members. (Id.
 18    ¶ 36.) Class Counsel also engaged in significant discovery—including deposing 7-
 19    Eleven corporate representative, defending Plaintiff’s deposition, serving and
 20    pursuing a third party subpoena (and seeking a protective order on 7-Eleven’s
 21    subpoenas), serving and responding to discovery requests, and litigating various
 22    discovery disputes. (Id. ¶ 16.) Class Counsel’s firm is not large and its resources
 23    must be deployed strategically. (Id. ¶¶ 38, 47.) As a result of the work performed
 24    throughout the duration of this litigation, Class Counsel was unable to devote time
 25    to other matters and had to forgo the opportunity to take on other work. (Id. ¶ 38.)
 26    Further, Class Counsel advanced costs in the amount of $20,961.15, which will
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 14 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 23 of 30 Page ID #:1485




   1   increase given the need to attend the final approval hearing. (Id. ¶¶ 41, 42.) This
   2   investment of time and resources required a substantial commitment.
   3         As such, this factor weighs in favor of approval as well.
   4                  6.      Class Counsel Took This Case On A Contingent Basis.
   5         The final factor inquires into whether the case has been litigated on a
   6   contingent basis. This too weighs in favor of the requested award. Contingency fees
   7   provide a basis for awarding higher fees than if counsel billed by the hour or on a
   8   flat fee because it provides plaintiffs the competent representation that they could
   9   not otherwise afford. Georgino v. Sur la Table, Inc., CASE NO. CV 11-03522
 10    MMM (JEMx), 2013 WL 12122430, at *21 (C.D. Cal. May 9, 2013) (quotations
 11    omitted). Further, “[i]t is an established practice in the private legal market to
 12    reward attorneys for taking the risk of non-payment by paying them a premium over
 13    their normal hourly rates for winning contingency cases.” In re Wash. Pub. Power
 14    Supply Sys. Sec. Litig., 19 F.3d 1291, 1299 (9th Cir. 1994). “If this ‘bonus’
 15    methodology did not exist, very few lawyers could take on the representation of a
 16    class client given the investment of substantial time, effort, and money, especially
 17    in light of the risks of recovering nothing.” Id.
 18          When Plaintiff contacted counsel regarding his potential claims against 7-
 19    Eleven, Class Counsel understood that the case would require considerable time and
 20    resources with the potential for zero recovery. Indeed, Class Counsel have spent
 21    over 1,169 hours litigating the case and incurred expenses of $20,961.15 to date.
 22    This represents a serious commitment of resources on the part of Class Counsel.
 23    Further, as a result of accepting Plaintiff’s case, counsel were prevented from
 24    accepting other cases on an hourly basis or otherwise.
 25          In sum, given the benefits obtained, the risks associated with the case, awards
 26    in similar cases, and the contingent nature of the representation, Class Counsel’s
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 15 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 24 of 30 Page ID #:1486




   1   25% request is demonstrably reasonable.
   2         B.       The Requested Fee Award Is Also Reasonable When Applying The
   3                  Lodestar Method.
   4         While the percentage of the fund method is preferred in common fund cases,
   5   the requested Fee Award is also reasonable when analyzed using the lodestar
   6   method—either as a cross-check or as the primary calculation method.
   7         “In a lodestar analysis, the court multiplies the number of hours reasonably
   8   expended by counsel on the matter by a reasonable hourly rate and adjusts the result
   9   upward or downward depending on a variety of factors.” In re Toys R Us-Delaware,
 10    Inc., 295 F.R.D. at 459-60. A multiplier is typically applied to a lodestar to account
 11    for risk of non-payment. See Vizcaino, 290 F.3d at 1051. For the purpose of a
 12    crosscheck, the lodestar calculation does not require mathematical precision. See
 13    Good Morning to You Prod. Corp. v. Warner/Chappell Music, Inc., Case No. CV
 14    13-4460-GHK (MRWx), 2016 WL 6156076, at *6 (C.D. Cal. Aug. 16, 2016).
 15          To date, Class Counsel has expended a total of 1,169.2 firm hours
 16    investigating, litigating, and setting this lawsuit for a total current lodestar of
 17    $426,059.00. A break down of the hours spent by each attorney working on the case
 18    is as follows:
 19
          Attorney Name/Firm                Title             Rate         Hours             Lodestar
 20
          Steven Woodrow (WP)               Partner            $450        299.3             $ 134,685.00
 21
 22       Patrick Peluso (WP)               Partner           $350         451.2             $ 157,920.00

 23       Taylor Smith (WP)                 Associate         $235         243.3             $ 57,175.50
 24       Stephen Klein (WP)                Associate         $235         110.1             $ 25,873.5
 25
          Mike Arias (ASWT)                 Partner           $1,050       8.6               $ 9,030.00
 26
          Alfredo Torrijos (ASWT)           Partner           $750         54.7              $ 41,025.00
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 16 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 25 of 30 Page ID #:1487




   1      LaDonna McDuffe (ASWT)            Paralegal         $175         2.0               $ 350.00
   2      LODESTAR                                                         1,169.20          $ 426,059.00
   3
       (Woodrow Decl. ¶ 35.) Class Counsel projects that an additional $15,000 in time
   4
       will be spent attaining final approval. This time will include drafting and filing the
   5
       motion for final approval, continuing to field calls from class members, assisting
   6
       class members with filing claims, working to ensure that the claim process is
   7
       effective, and attending the final approval hearing.
   8
             Class Counsel’s hourly rates are below the market rate for comparable
   9
       attorneys in this District. See Parkinson v. Hyundai Motor America, 796 F.Supp.2d
 10
       1160, 1173 (C.D. Cal. 2010) (approving hourly rates ranging from $445 to $675).
 11
       As set forth in the Woodrow Declaration, Class Counsel’s rates are reasonable and
 12
       have been approved by various courts. (See Woodrow Decl. ¶ 39. (citing Gergetz v.
 13
       Telenav, Inc., Case No. 16-cv-04261-BLF, 2018 WL 4691169, at *7 (N.D. Cal.
 14
       Sept. 27, 2018) (approving 2018 rates for Steven Woodrow, Patrick Peluso, and
 15
       Taylor Smith of $440, $340, and $225 respectively); see also Couch v. Southwest
 16
       Airlines Co., 3:15-cv-00367-N (N.D. TX 2016) (Couch Dkt. 43) (approving 2016's
 17
       rates for Woodrow & Peluso of $430 and $330 respectively); see also Wigod v.
 18
       Wells Fargo Bank, N.A., Case No: 1:10-cv-2348 (N.D. Ill. 2014) (Bucklo, J.)
 19
       (Wigod Dkt. 278) (approving hourly rate of $570 for attorney Woodrow in 2014)).
 20
       Further, the stated hourly rate for each attorney is the same rate that is charged to
 21
       hourly-paying clients. (Woodrow Decl. ¶ 40).
 22
             While a lodestar amount is presumptively reasonable, it may be adjusted
 23
       upward by a multiplier typically ranging between 1 and 4 to account for the risk
 24
       faced in taking the case. See Alba Conte & Herbert B. Newberg, Newberg on Class
 25
       Actions, 14:03 (3d Ed. 1992) (recognizing that multipliers of one to four are
 26
       frequently awarded). When considering an adjustment to the lodestar, courts
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 17 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 26 of 30 Page ID #:1488




   1   consider the quality of the representation, the benefits obtained for the class
   2   members, the complexity and novelty of the issues, and the risk of nonpayment. In
   3   re Bluetooth, 654 F.3d at 941-42. The Ninth Circuit has concluded that lower courts
   4   may abuse their discretion where a multiplier is required but withheld. See Fischel
   5   v. Equitable Life Assur. Soc’y of U.S., 307 F.3d 997, 1008 (9th Cir. 2002) (“It is an
   6   abuse of discretion to fail to apply a risk multiplier, however, when (1) attorneys
   7   take a case with the expectation that they will receive a risk enhancement if they
   8   prevail, (2) their hourly rate does not reflect that risk, and (3) there is evidence that
   9   the case was risky.”).
 10          A nominal multiplier is warranted here. As explained above, Class Counsel
 11    are experienced class litigators whose time, effort, and skill were instrumental in
 12    obtaining the instant Settlement, which provides an outstanding result to class
 13    members. Further, Class Counsel took this case entirely on a contingent basis and
 14    faced a significant risk of nonpayment. Additionally, Class Counsel’s rates have not
 15    been adjusted to reflect that risk. (Woodrow Decl. ¶ 40.) Rather, the stated rates are
 16    both below market (in this District) and the same as those charged to hourly-paying
 17    clients. (Id.) In the end, Class Counsel’s effort and skill resulted in a substantial
 18    recovery for the classes.
 19          Further, the requested fee award would only require a multiplier of 1.12 of
 20    counsel’s lodestar to justify. The calculation starts by taking Class Counsel’s
 21    current lodestar ($426,059.00) and adding in the $15,000 in additional anticipated
 22    time. This sum is then divided by the fee request ($493,125). The result is that a
 23    multiplier of only 1.12 is needed to justify the requested fee award. This is well
 24    within the range of 1 to 4.
 25          Hence, whether the Court utilizes the lodestar method as the primary
 26    calculation method or just as a cross-check, the application justifies the requested
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 18 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 27 of 30 Page ID #:1489




   1   fee award. Therefore, the requested fees are justified under both methods of review
   2   and the Court should award Class Counsel fees in the amount of $493,125.
   3         C.       The Court Should Also Award Class Counsel’s Reasonable
   4                  Expenses of $20,961.15.
   5         The Court may also award reasonable costs and expenses. Fed. R. Civ. P.
   6   23(h). “‘Expenses such as reimbursement for travel, meals, lodging, photocopying,
   7   long-distance telephone calls, computer legal research, postage, courier service,
   8   mediation, exhibits, documents scanning, and visual equipment are typically
   9   recoverable.’” In re Toys R Us-Delaware, Inc., 205 F.R.D. at 469. To date, Class
 10    Counsel have incurred $20,961.15 prosecuting and settling this action. (Woodrow
 11    Decl. ¶¶ 41, 42.) All of the costs are reasonable and specific to the needs of the
 12    case. (Id. ¶ 43.) The expenses include travel to and from several hearings, travel to
 13    and from the mediation session, filing costs, court reporter and deposition fees, and
 14    various other expenses. (See Woodrow Decl. ¶¶ 41-43.) None of the expenses were
 15    excessive and all would be considered expected litigation expenses. Further, Class
 16    Counsel expects to incur additional expenses associated with the final approval
 17    hearing. Hence, the expenses are reasonable and should be approved as well.
 18          D.       The Court Should Likewise Approve The Requested Incentive
 19                   Award For Plaintiff Munoz’s Efforts.
 20          Munoz contributed toward the resolution of this case and an incentive award
 21    is warranted for his efforts. Courts typically award incentive awards to compensate
 22    class representatives for the work done on behalf of the class and to make up for the
 23    financial or reputational risk undertaken in bringing the action. Rodriguez v. West
 24    Publishing Corp., 563 F.3d 948, 958 (9th Cir. 2009). Class representatives subject
 25    themselves to public attention by lending their names to the case and devote time to
 26    responding to written discovery requests, being deposed by defendants, and
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 19 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 28 of 30 Page ID #:1490




   1   consulting with class counsel regularly. Chambers v. Whirlpool Corp., 214
   2   F.Supp.3d. 877, 906 (C.D. Cal. Oct. 11, 2016).
   3          An award of $5,000 is consistent with the amount typically awarded to class
   4   representatives. See In re Toys R Us-Delaware, Inc., 295 F.R.D. at 470 (collecting
   5   cases); see also In re Mego Financial Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir.
   6   2000) (finding a $5,000 incentive award to be reasonable for a $1.725 million
   7   settlement); see also Weeks v. Kellogg Co., No. CV 09–08102, 2013 WL 6531177,
   8   at *35 (C.D. Cal. Nov. 23, 2013) (approving a $5,000 incentive award).
   9          The $5,000 incentive award sought here is plainly reasonable. Munoz
 10    supplied a detailed factual background of the case and regularly communicated with
 11    Class Counsel. (Woodrow Decl. ¶ 17.) He was deposed and responded to all
 12    discovery requests. (Id.) In short, Munoz was crucial in the success of the litigation
 13    and the Settlement.
 14           Given his dedication to the case and awards in similar matters, a $5,000
 15    incentive award to Munoz is reasonable.
 16    IV.    Conclusion
 17           For the reasons stated above, Plaintiff Munoz and Class Counsel respectfully
 18    request that Court issue an Order granting their requests for $493,125 as an award
 19    for reasonable attorneys’ fees, $5,000 as an incentive payment to Munoz, awarding
 20    reasonable costs and expenses in the amount of $20,961.15, and for such additional
 21    relief as the Court deems reasonable and just.
 22
 23                                                      Respectfully Submitted,

 24                                                      EDWARDO MUNOZ, individually and on
 25                                                      behalf of all others similarly situated,

 26    Dated: September 20, 2019                         By: /s/ Steven L. Woodrow
 27                                                             One of Plaintiff’s Attorneys

 28
             Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                           - 20 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 29 of 30 Page ID #:1491




   1
                                                       Mike Arias (CSB #115385)
   2                                                     mike@asstlawyers.com
   3                                                   Alfredo Torrijos (CSB #222458)
                                                         alfredo@asstlawyers.com
   4                                                   ARIAS SANGUINETTI WANG &
   5                                                   TORRIJOS, LLP
                                                       6701 Center Drive West, 14th Floor
   6                                                   Los Angeles, California 90045
   7                                                   Telephone: (310) 844-9696
                                                       Facsimile: (310) 861-0168
   8
   9                                                   Steven L. Woodrow*
                                                         swoodrow@woodrowpeluso.com
 10                                                    Patrick H. Peluso*
 11                                                      ppeluso@woodrowpeluso.com
                                                       Taylor T. Smith*
 12                                                      tsmith@woodrowpeluso.com
 13                                                    WOODROW & PELUSO, LLC
                                                       3900 East Mexico Avenue, Suite 300
 14                                                    Denver, Colorado 80210
 15                                                    Telephone: (720) 213-0675
                                                       Facsimile: (303) 927-0809
 16
 17                                                    *Pro Hac Vice

 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
           Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                         - 21 -
Case 2:18-cv-03893-RGK-AGR Document 93 Filed 09/20/19 Page 30 of 30 Page ID #:1492




   1                                   CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   titled document was served upon counsel of record by filing such papers via the
   4   Court’s ECF system on September 20, 2019.
   5                                                               /s/ Steven L. Woodrow
   6
   7
   8
   9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
            Notice of Plaintiff’s Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award
                                                          - 22 -
